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 1                                 UNITED STATES DISTRICT COURT
 2                                      DISTRICT OF NEVADA

 3

 4   SECURITIES AND EXCHANGE
     COMMISSION,
 5                                                        Case No.: 2:15-cv-01974-GMN-PAL
                Plaintiff,
 6
                                                             AGREED FINAL JUDGMENT AS
 7                           vs.                             TO DEFENDANT ASCENERGY
                                                             LLC, DEFENDANT JOSEPH (A/K/A
 8   ASCENERGY LLC and                                       JOEY) GABALDON, AND RELIEF
     JOSEPH (a/k/a JOEY) GABALDON,                           DEFENDANT ALANAH
 9                                                           ENERGY, LLC
10              Defendants,

11   PYCKL LLC and ALANAH
     ENERGY, LLC,
12
                Relief Defendants.
13

14

15          On June 21, 2016, the Court entered an Agreed Judgment against Defendant Ascenergy
16
     LLC (“Ascenergy”), Defendant Joseph (a/k/a Joey) Gabaldon (“Gabaldon”), and Relief
17
     Defendant Alanah Energy, LLC (“Alanah,” and collectively, “Defendants”). ECF No. 63. The
18
     Agreed Judgment contemplates that a Final Judgment would subsequently be entered against
19

20   Defendants setting the amount of disgorgement, pre-judgment interest, and civil penalties.

21          Defendants have entered general appearances, consented to the Court’s jurisdiction over

22   them and the subject matter of this action, consented to entry of this Final Judgment without
23   admitting or denying the allegations of the Complaint (except as to jurisdiction and except as
24
     otherwise provided herein in paragraph V); waived findings of fact and conclusions of law; and
25
     waived any right to appeal from this Final Judgment:
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                                                 I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant Ascenergy

and Defendant Gabaldon are permanently restrained and enjoined from violating, directly or

indirectly, Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15

U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any

means or instrumentality of interstate commerce, or of the mails, or of any facility of any

national securities exchange, in connection with the purchase or sale of any security:

       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to make any untrue statement of a material fact or to omit to state a material fact

               necessary in order to make the statements made, in the light of the circumstances

               under which they were made, not misleading; or

       (c)     to engage in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant

Ascenergy’s and/or Defendant Gabaldon’s officers, agents, servants, employees, and attorneys;

and (b) other persons in active concert or participation with Defendant Ascenergy and/or

Defendant Gabaldon or with anyone described in (a).


                                                II.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

Ascenergy and Defendant Gabaldon are permanently restrained and enjoined from violating

Section 17(a) of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the




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offer or sale of any security by the use of any means or instruments of transportation or

communication in interstate commerce or by use of the mails, directly or indirectly:

       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to obtain money or property by means of any untrue statement of a material fact

               or any omission of a material fact necessary in order to make the statements

               made, in light of the circumstances under which they were made, not misleading;

               or

       (c)     to engage in any transaction, practice, or course of business which operates or

               would operate as a fraud or deceit upon the purchaser.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant

Ascenergy’s and/or Defendant Gabaldon’s officers, agents, servants, employees, and attorneys;

and (b) other persons in active concert or participation with Defendant Ascenergy and/or

Defendant Gabaldon or with anyone described in (a).


                                                III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that:

       Defendants Gabaldon and Defendant Ascenergy are jointly and severally liable for

disgorgement of $5,112,473, representing profits gained as a result of the conduct alleged in the

Complaint, together with prejudgment interest thereon in the amount of $197,217.

       Relief Defendant Alanah is liable for disgorgement of $103,890, representing profits

gained as a result of the conduct alleged in the Complaint, together with prejudgment interest

thereon in the amount of $4,670.




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       Defendant Gabaldon and Defendant Ascenergy shall have their disgorgement obligation

reduced by the amount of any disgorgement amounts that the Commission actually collects from

Relief Defendant Pyckl LLC or its owners, managers, members, or affiliates or from Relief

Defendant Alanah in this matter, including any amounts collected from escrow accounts

established on their behalf. Defendant Gabaldon and Defendant Ascenergy shall also have their

disgorgement obligation reduced by and to the extent any amount of the approximately $517,278

of investor funds previously seized by the Federal Bureau of Investigation is finally forfeited or

released thereto.

       Defendant Gabaldon is further liable for a civil penalty in the amount of $320,000

pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the

Exchange Act [15 U.S.C. § 78u(d)(3)].

       Defendant Ascenergy is further liable for a civil penalty in the amount of $1,550,000

pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the

Exchange Act [15 U.S.C. § 78u(d)(3)].

       Defendants shall satisfy these obligations by paying all amounts to the Securities and

Exchange Commission within 14 days after entry of this Final Judgment. Any funds in the

accounts of Defendant Gabaldon, Defendant Ascenergy, or Relief Defendant Alanah subject to

the Court’s Asset Freeze [ECF No. 14] may be released towards payment of the obligations set

forth herein.

       Defendants may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website

at http://www.sec.gov/about/offices/ofm.htm. Defendants may also pay by certified check, bank




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cashier’s check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; the respective Defendant’s name; and specifying that payment is made pursuant to

this Final Judgment.

       Defendants shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission’s counsel in this action. By making this payment,

Defendants relinquishes all legal and equitable right, title, and interest in such funds and no part

of the funds shall be returned to Defendants.

       The Commission may enforce the Court’s judgment for disgorgement and prejudgment

interest by moving for civil contempt (and/or through other collection procedures authorized by

law) at any time after 14 days following entry of this Final Judgment. Defendants shall pay post

judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.

       The Commission shall hold the funds (collectively, the “Fund”) and may propose a plan

to distribute the Fund subject to the Court’s approval. Such a plan may provide that the Fund

shall be distributed pursuant to the Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley

Act of 2002. The Court shall retain jurisdiction over the administration of any distribution of the

Fund. If the Commission staff determines that the Fund will not be distributed, the Commission

shall send the funds paid pursuant to this Final Judgment to the United States Treasury.

       Regardless of whether any such Fair Fund distribution is made, amounts ordered to be

paid as civil penalties pursuant to this Final Judgment shall be treated as penalties paid to the

government for all purposes, including all tax purposes. To preserve the deterrent effect of the


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civil penalty, Defendant Ascenergy and Defendant Gabaldon shall not, after offset or reduction

of any award of compensatory damages in any Related Investor Action based on their payment

of disgorgement in this action, argue that they are entitled to, nor shall Defendant Ascenergy or

Defendant Gabaldon further benefit by, offset or reduction of such compensatory damages award

by the amount of any part of Defendant Ascenergy’s or Defendant Gabaldon’s payment of a civil

penalty in this action (“Penalty Offset”). If the court in any Related Investor Action grants such

a Penalty Offset, the Defendant receiving the Penalty Offset shall, within 30 days after entry of a

final order granting the Penalty Offset, notify the Commission’s counsel in this action and pay

the amount of the Penalty Offset to the United States Treasury or to a Fair Fund, as the

Commission directs. Such a payment shall not be deemed an additional civil penalty and shall

not be deemed to change the amount of the civil penalty imposed in this Final Judgment. For

purposes of this paragraph, a “Related Investor Action” means a private damages action brought

against a Defendant by or on behalf of one or more investors based on substantially the same

facts as alleged in the Complaint in this action.


                                                    IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consents

Defendants executed in connection with this Final Judgment are incorporated herein with the

same force and effect as if fully set forth herein, and that Defendant Ascenergy, Defendant

Gabaldon, and Relief Defendant Alanah shall comply with all of the undertakings and

agreements set forth therein.


                                                    V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the



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allegations in the complaint are true and admitted by Defendant Gabaldon, and further, any debt

for disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant

Gabaldon under this Final Judgment or any other judgment, order, consent order, decree or

settlement agreement entered in connection with this proceeding, is a debt for the violation by

Defendant Gabaldon of the federal securities laws or any regulation or order issued under such

laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).


                                                VI.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.


                                               VII.

       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.




                                              IT IS SO ORDERED:



                                              ________________________________
                                              Gloria M. Navarro, Chief Judge
                                              United States District Judge

                                              DATED this ___
                                                         23 day of May, 2017.




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